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 2   State Bar No. 118517
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     Attorneys for Defendant-Appellant Attorney
10   General Xavier Becerra
11                    IN THE UNITED STATES DISTRICT COURT
12                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     VIRGINIA DUNCAN, RICHARD                       17-cv-1017-BEN-JLB
16   LEWIS, PATRICK LOVETTE,
     DAVID MARGUGLIO,                               NOTICE OF APPEAL
17   CHRISTOPHER WADDELL, and
     CALIFORNIA RIFLE & PISTOL                      Judge:        Hon. Roger T. Benitez
18   ASSOCIATION, INC., a California                Courtroom: 5A
     corporation,                                   Action Filed: May 17, 2017
19
                                  Plaintiffs,
20
                 v.
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22   XAVIER BECERRA, in his official
     capacity as Attorney General of the
23   State of California; and DOES 1-10,
24                              Defendants.
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                           Notice of Appeal (17-cv-1017-BEN-JLB)
 1        PLEASE TAKE NOTICE that Defendant Xavier Becerra, in his official
 2   capacity as the Attorney General of the State of California, hereby appeals to the
 3   United States Court of Appeals for the Ninth Circuit from this Court’s final
 4   judgment, entered on March 29, 2019 (Dkt. No. 88), including the Court’s Order
 5   Granting Plaintiffs’ Motion for Summary Judgment, Declaring California Penal
 6   Code § 32310 Unconstitutional and Enjoining Enforcement, issued on March 29,
 7   2019 (Dkt. No. 87).
 8
     Dated: April 4, 2019                          Respectfully Submitted,
 9
                                                   XAVIER BECERRA
10                                                 Attorney General of California
                                                   THOMAS S. PATTERSON
11                                                 Senior Assistant Attorney General
                                                   MARK R. BECKINGTON
12                                                 Supervising Deputy Attorney General
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14                                                 /s/ John D. Echeverria
15                                                 JOHN D. ECHEVERRIA
                                                   Deputy Attorney General
16                                                 Attorneys for Defendant Attorney
                                                   General Xavier Becerra
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                             Notice of Appeal (17-cv-1017-BEN-JLB)
 1   XAVIER BECERRA
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 3   Senior Assistant Attorney General
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 4   MARK R. BECKINGTON
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 5   State Bar No. 126009
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 9    E-mail: John.Echeverria@doj.ca.gov
     Attorneys for Defendant-Appellant Attorney
10   General Xavier Becerra
11                    IN THE UNITED STATES DISTRICT COURT
12                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
14
15
     VIRGINIA DUNCAN, RICHARD                     17-cv-1017-BEN-JLB
16   LEWIS, PATRICK LOVETTE,
     DAVID MARGUGLIO,                             REPRESENTATION STATEMENT
17   CHRISTOPHER WADDELL, and
     CALIFORNIA RIFLE & PISTOL                    [Fed. R. App. P. 12(b)]
18   ASSOCIATION, INC., a California
     corporation,                              Judge:        Hon. Roger T. Benitez
19                                             Courtroom: 5A
                                   Plaintiffs, Action Filed: May 17, 2017
20
                 v.
21
22   XAVIER BECERRA, in his official
     capacity as Attorney General of the
23   State of California; and DOES 1-10,
24                              Defendants.
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                                              1
                        Representation Statement (17-cv-1017-BEN-JLB)
 1        Pursuant to Federal Rule of Appellate Procedure 12(b), Defendant-Appellant
 2   Xavier Becerra, in his official capacity as the Attorney General of the State of
 3   California, hereby submits the following Representation Statement identifying all
 4   parties to the action along with the names, addresses, and telephone numbers of
 5   their respective counsel:
 6        Defendant-Appellant Xavier Becerra is represented in this matter by the
 7   following counsel:
 8        Thomas S. Patterson (thomas.patterson@doj.ca.gov)
 9        Mark R. Beckington (mark.beckington@doj.ca.gov)
10        John D. Echeverria (john.echeverria@doj.ca.gov)
11        Office of the California Attorney General
12        300 South Spring Street, Suite 1702
13        Los Angeles, CA 90013
14        (213) 269-6249
15        Plaintiffs-Appellees Virginia Duncan, Richard Lewis, Patrick Lovette, David
16   Marguglio, Christopher Waddell, and the California Rifle & Pistol Association, Inc.
17   are represented in this mater by the following counsel:
18        C.D. Michel (cmichel@michellawyers.com)
19        Anna M. Barvir (abarvir@michellawyers.com)
20        Sean Brady (sbrady@michellawyers.com)
21        Michel & Associates, P.C.
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23        Long Beach, CA 90802
24        (562) 216-4444
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                          Representation Statement (17-cv-1017-BEN-JLB)
 1   Dated: April 4, 2019                        Respectfully Submitted,
 2                                               XAVIER BECERRA
                                                 Attorney General of California
 3                                               THOMAS S. PATTERSON
                                                 Senior Assistant Attorney General
 4                                               MARK R. BECKINGTON
                                                 Supervising Deputy Attorney General
 5
 6
                                                 /s/ John D. Echeverria
 7
                                                 JOHN D. ECHEVERRIA
 8                                               Deputy Attorney General
                                                 Attorneys for Defendant Attorney
 9                                               General Xavier Becerra
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                        Representation Statement (17-cv-1017-BEN-JLB)
                              CERTIFICATE OF SERVICE
Case Name:     Virginia Duncan, et al. v.              Case No.: 17-cv-1017-BEN-JLB
               Xavier Becerra

I hereby certify that on April 4, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:


 NOTICE OF APPEAL
 REPRESENTATION STATEMENT


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on April 4, 2019, at Los Angeles, California.


          John D. Echeverria                                  /s/ John D. Echeverria
              Declarant                                              Signature
